` Case 1:03-cV-01226-.]DB-tmp Document 30 Filed 04/22/05 Page 1 of 4 Page|D 52

UNITED STATES DISTRICT COURT

wEsTERN DISTRICT oF TENNESSEE 252 ri’r`¥?. 22 ‘PH h= 23
EASTERN DIvIsIoN

424 z . tit 'i"i"‘.C-i.» »

2, a DlaT. <;T

\(¢‘“\le“§1 2313 1§. MEMPH"`
BILLIE D. MeKINNIE, )
)
Plainciff, )
)

vs. ) Civil Action No.: 1:03-1226-B/P

)
CORRECTIONS CORPORATION )
oF AMERICA, et al., )
)
Defendants. )

 

ORDER

 

Bet`ore the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is Well taken. Therefore, it is ORDERED that the

deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

Mv\
JUDGE '

DATED; l /7-"“/4§/

I'l` IS SO ORDERED.

 

_NQs>+ovr-'Nl 20 nn
19 isn 'S'n 210 wasn
ends n a lsssoa

This document entered on the docket sheet in compliance
]4

with sole ss and:or,?s (a) FHCP on op “05 '73 =9 Hd 93 HdV 50

CEl/\EJOHH»

SO_

k Case 1:03-cV-01226-.]DB-tmp Document 30 Filed 04/22/05 Page 2 0f4 Page|D 53

APPROVED FOR ENTRY:

%mimdm&¢bm

.'IAMES 1. PENTECOST

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Tennessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

150 Fourth Avenue North

Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

    

§§

WA NE A. RITCHI ,
ROBERT W. RITCHIE
RI'I`CHIE, FELS & DILLARD
P.O. Box 1126

Knoxville, Tennessee 37901-1126

W. GASTON FAIREY

W. GASTON FAIREY, LLC
1722 Main Street, Suite 300
Columbia, South Carolina 29201

COUNSEL FOR PLAINTIFF

CERTIFICATE OF SERVICE_

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

22 L/r§§wdm©.%ém

J ames l. Pentecost (#01 1640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:03-CV-01226 Was distributed by faX, rnai1, or direct printing on
Apri128, 2005 to the parties listed.

ESSEE

 

W. Gaston Fairey

FAIREY PARISE & 1\/1[1414S7 P.A.
P.O. Box 8443

Columbia, SC 29202

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, WI 531 15

Case 1:03-cV-01226-.]DB-tmp Document 30 Filed 04/22/05 Page 4 of 4 Page|D 55

Honorable .1. Breen
US DISTRICT COURT

